Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 1 of 46 PageID #: 1


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA

Global Trademarks, Inc.,                  Case No.

                    Plaintiff,
                                          COMPLAINT
             v.
                                          JURY TRIAL DEMANDED
Swimsuits for All, LLC; FullBeauty
Brands Operations, LLC; Jessica
London, Inc.; and FullBeauty Brands,
Inc.;

                    Defendants.

                                  COMPLAINT

      Plaintiff Global Trademarks, Inc. (“Global Trademarks” or “Plaintiff”) for its

Complaint against Defendants Swimsuits for All, LLC, FullBeauty Brands

Operations, LLC, Jessica London, Inc., and FullBeauty Brands, Inc. (collectively,

“Defendants”), allege as follows, upon actual knowledge with respect to itself and

its own acts, and upon knowledge, information, and belief as to all other matters:

                            NATURE OF THE ACTION

      1.     This is a civil action for patent infringement under the Patent Act, 35

U.S.C. § 271, et seq., and trademark infringement and unfair competition under the

Lanham Act, 15 U.S.C. § 1051, et seq. and Indiana common law, based on

Defendants’ unauthorized commercial manufacture, distribution, use, offer for sale,

and/or sale of swimwear in violation of Plaintiff’s rights. Specifically, Defendants

copied Global Trademarks’:
                                          1
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 2 of 46 PageID #: 2


            “Rita”-style patented swimsuit top design;

            “Criss-Cross Escape”-style patented swimsuit design;

            “Ronnie”-style patented swimsuit top design; and

            SWIM SOLUTIONS® trademark.

Defendants’ conduct shows a pattern of willful bad-faith copying to deceive

consumers and unfairly profit from Global Trademarks’ innovative designs and

from the goodwill, trust, and recognition that Global Trademarks has long labored

to build. Plaintiff seeks equitable and monetary relief from Defendants’ multiple

and flagrant violations of its valuable intellectual property rights.

                                      PARTIES

                                       Plaintiff

      2.      Plaintiff Global Trademarks is a Nevada corporation with its principal

place of business located at 610 Uhler Rd., Easton, PA 18040.

                                      Defendants

      3.      Defendant Swimsuits for All, LLC (“SFA”) is an Indiana limited

liability company with its principal place of business located at 2300 Southeastern

Avenue, Indianapolis, IN 46201. On information and belief, Defendant SFA is

responsible for the swimsuits available for sale on the website,

www.swimsuitsforall.com, as well as the swimsuits available for sale via the

“Swimsuits for All” catalogue. Defendant SFA is also the owner of record of the



                                           2
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 3 of 46 PageID #: 3


“Swimsuits for All” trademarks registered with the United States Patent and

Trademark Office.

      4.     Defendant FullBeauty Brands Operations, LLC (“FBO”) is an Indiana

limited liability company with its principal place of business located at 2300

Southeastern Avenue, Indianapolis, IN 46201. Defendant FBO is listed as the

registrant of the domain names, www.swimsuitsforall.com, www.catherines.com,

www.onestopplus.com, www.womanwithin.com, www.roamans.com,

www.jessicalondon.com, www.ellos.us, and www.fullbeauty.com, all of which sell

“Swimsuits for All” products. The “Swimsuits for All” catalogue also notes that

“Swimsuits for All” is a “FullBeauty brand.” Defendant FBO is also the owner of

record of the “Swim 365” trademark registered with the United States Patent and

Trademark Office; the www.swimsuitsforall.com website also sells swimwear “by

Swim 365.”

      5.     Defendant Jessica London, Inc. (“JL”) is an Indiana corporation with

its principal place of business located at 2300 Southeastern Avenue, Indianapolis,

IN 46201. Defendant JL is listed as the sole member of Defendant SFA.

      6.     Defendant FullBeauty Brands, Inc. (“FBB”) is a Delaware corporation

with a regular and established place of business located at 2300 Southeastern

Avenue, Indianapolis, IN 46201. The “Swimsuits for All” catalogue also notes that

“Swimsuits for All” is a “FullBeauty brand.” Defendant FBB is listed as the

registrant of the domain names, www.juneandvie.com, www.activeforall.com, and

                                         3
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 4 of 46 PageID #: 4


www.intimatesforall.com, all of which sell “Swimsuits for All” products. On

information and belief, Defendant FBB also controls, manages, and/or operates, in

whole or in part, the website, www.swimsuitsforall.com and/or the “Swimsuits for

All” catalogue. In addition, the “Swimsuits for All” trademark registrations

identify as a correspondent e-mail intellectual.property@fbbrands.com, and the

www.fbbrands.com domain name is registered by Defendant FBB.

      7.     Defendants appear to share members and/or executives. For example:

             a.    Jim Fogarty is a managing member of Defendant FBO and

      Director and Chief Executive Officer of both Defendant JL and Defendant

      FBB.

             b.    Cliff Moskowitz is a managing member of Defendant FBO and

      a Director of both Defendant JL and Defendant FBB.

             c.    Kirsten Hagan is a Director of both Defendant JL and

      Defendant FBB.

             d.    Lauren Gee is Secretary of both Defendant JL and Defendant

      FBB.

             e.    Ryan Abren is Treasurer/Assistant Secretary of Defendant JL

      and Treasurer of Defendant FBB.

      8.     All Defendants share the same address as their principal place of

business as listed with the Indiana Secretary of State, namely, 2300 Southeastern

Avenue, Indianapolis, IN 46201.

                                         4
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 5 of 46 PageID #: 5


                           JURISDICTION AND VENUE

       9.    This Court has original subject matter jurisdiction over this action

under 28 U.S.C. §§ 1331 (federal question) and 1338 (patent and trademark

infringement). This Court has supplemental jurisdiction over Plaintiff’s state

common-law claim pursuant to 28 U.S.C. § 1367 because that claim is

substantially related to Plaintiff’s federal Lanham Act claims.

       10.   This Court has personal jurisdiction over Defendants SFA, FBO, and

JL because those Defendants are incorporated and reside in the State of Indiana

with their principal places of business in this judicial district.

       11.   This Court has personal jurisdiction over Defendant FBB because it

resides in the State of Indiana with its principal places of business in this judicial

district.

       12.   Venue is proper in this judicial district under 28 U.S.C. § 1400(b). On

information and belief, Defendants have committed acts of infringement of the

patents and trademark at issue in this district by offering for sale infringing

swimwear and have a regular and established place of business in this district

and/or are incorporated in this district.

       13.   Venue is further proper under 28 U.S.C. § 1391 as the Defendants

may be found or transact business in this district and a substantial part of the events

giving rise to the Plaintiff’s claims occurred and are continuing to occur in this

district.

                                            5
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 6 of 46 PageID #: 6


      GLOBAL TRADEMARKS AND ITS POPULAR, SUCCESSFUL,
           AND WELL-KNOWN SWIMWEAR DESIGNS

      14.    With its roots tracing back to the 1930’s, Global Trademarks and its

related companies—doing business under the “Swim USA” umbrella, including

A&H Sportswear, Co.; Penbrooke Swimsuits, Inc.; Mainstream Swimsuits, Inc.;

and Mainstream International, Corp. (collectively, “Swim USA”)—combine to

form one of the most successful and admired makers of swimwear. Swim USA’s

innovative figure-flattering swimsuit designs have enjoyed tremendous commercial

success, widespread recognition, and a loyal customer following.

      15.    Swim USA executes its cutting-edge design efforts from its own

studios in Los Angeles, New York City, and Pennsylvania. These studios house a

team of over 40 designers, with a full complement of technical designers and

pattern-makers, specializing in all categories of swimwear.

      16.    Swim USA also executes all its own product development, with over

30 full-time pattern-makers, and sample making in-house using four state-of-the-

art product development centers in the United States and in China.

      17.    Swim USA executes all its own color and print development at its in-

house textile design group in New York City, including a library of over 200,000

pieces of print art. This team is made up of expert trend stylists, colorists,

print/CAD designers, hand painters, and technical engineers.




                                           6
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 7 of 46 PageID #: 7


      18.    Swim USA’s proprietary swimwear and apparel brands include

MIRACLESUIT®, MAGICSUIT®, VITAMIN A®, AMORESSA®,

LONGITUDE®, PENBROOKE®, TRIMSHAPER®, ACTIVE SPIRIT®, and

SWIM SOLUTIONS®.

      19.    Swim USA also designs and manufactures swimwear and related

apparel for the POLO RALPH LAUREN® and LAUREN RALPH LAUREN®

brands. For the 2011 to the 2022 seasons, Swim USA also designed and

manufactured swimwear and related apparel for the REEBOK® brand.

      20.    Swim USA offers its fashion swimwear for a diverse customer base of

all ages, in a broad range of price points. Its products are offered, promoted, and

sold through a network of dynamic national retailers across the United States,

including Nordstrom’s, Neiman Marcus, Macys, Dillard’s, Lord & Taylor, Belk,

J.C. Penny, Kohls, Target, and Walmart; well-known specialty stores, like

Everything But Water and Soma; and online retailers, like Amazon.com,

Zappos.com, and LandsEnd.com.

      21.    Swim USA estimates it has more than 20% market share of the

traditional women’s swimwear market in the United States. Its customers recognize

it as the industry leader in swimwear fit technology and innovation.

      22.    Swim USA’s swimwear line has included the “Rita” and “Ronnie”-

style swimsuit tops since at least 2011, and the “Criss Cross Escape”-style



                                          7
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 8 of 46 PageID #: 8


swimsuit since at least 2016. Each has a unique, recognizable, and elegant design,

as shown below:




                                Criss-Cross Escape
  Rita Swimsuit Tankini                                   Ronnie Swimsuit Tankini
                                     Swimsuit


      23.   Swim USA’s intellectual property is owned by Global Trademarks,

who has a long tradition of protecting its cutting-edge designs and brands by

obtaining and enforcing its design patent and trademark rights throughout the

United States. Global Trademarks has licensed the design patents and trademark at

issue here to Swim USA.

                     THE ASSERTED DESIGN PATENTS

      24.   For the design patents at issue, the Swim USA designers filed design

patent applications to protect their innovative swimsuit designs and eventually

assigned their rights in those patents to Global Trademarks.
                                           8
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 9 of 46 PageID #: 9


      25.   U.S. Design Patent No. D687,212 S for “Swimsuit Top” (the “’212

Patent”) was duly and lawfully issued by the USPTO on August 6, 2013 to Global

Trademarks. The ’212 Patent is titled “Swimsuit Top.” Mark Waldman and Brian

Davis are listed as the inventors. The patent issued from U.S. Design Patent

Application No. 29/411,616 (the “’616 Application”), which was filed on January

24, 2012. On January 24, 2012, Mr. Waldman and Mr. Davis assigned their rights

in the design claimed in the ’212 Patent to Global Trademarks. The assignment was

recorded with the USPTO and is located at reel/frame number 027586/0156.

      26.   The ’212 Patent carries a presumption of validity under 35 U.S.C.

§ 282(a) and is enforceable.

      27.   The ’212 Patent claims a new, original, and ornamental design for a

swimsuit top, as shown in the figure of the ’212 Patent, reproduced in part below

and shown in Exhibit 1, with the broken lines of equal length forming no part of

the claimed design:




                                         9
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 10 of 46 PageID #: 10




       28.   Swim USA, under license from Global Trademarks, manufactures

 multiple products, including the MAGICSUIT® “Rita”-style swimsuit top, which

 embodies the claimed design of the ’212 Patent:




                                        10
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 11 of 46 PageID #: 11




             Rita Swimsuit Top                         The ’212 Patent

       29.    Global Trademarks complies with the marking and notice

 requirements of 35 U.S.C. § 287. Below is an example notice placed on the sewn-

 in labels of the MAGICSUIT® “Rita”-style swimsuits:




                                        11
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 12 of 46 PageID #: 12




       30.   U.S. Design Patent No. D866,123 S for “Swimsuit” (the “’123

 Patent”) was duly and lawfully issued by the USPTO on November 12, 2019 to

 Global Trademarks. The ’123 Patent is titled “Swimsuit.” Mark Waldman is listed

 as the sole inventor. The patent issued from U.S. Design Patent Application No.

 29/624,447 (the “’447 Application”), which was filed on November 1, 2017. On

 October 31, 2017, Mr. Waldman assigned his rights in the design claimed in the

 ’447 Patent to Global Trademarks. The assignment was recorded with the USPTO

 and is located at reel/frame number 044002/0197.

       31.   The ’123 Patent carries a presumption of validity under 35 U.S.C.

 § 282(a) and is enforceable.

       32.   The ’123 Patent claims a new, original, and ornamental design for a

 swimsuit, as shown in the figure of the ’123 Patent, reproduced in part below and
                                          12
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 13 of 46 PageID #: 13


 shown in Exhibit 2, with the broken lines of equal length forming no part of the

 claimed design:




       33.   Swim USA, under license from Global Trademarks, manufactures

 multiple products, including the MIRACLESUIT® “Criss-Cross Escape”-style

 swimsuit, which embodies the claimed design of the ’123 Patent:




                                         13
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 14 of 46 PageID #: 14




      Criss-Cross Escape Swimsuit                     The ’123 Patent

       34.   Global Trademarks complies with the marking and notice

 requirements of 35 U.S.C. § 287. Below is an example notice placed on the sewn-

 in labels of the MIRACLESUIT® “Criss-Cross Escape”-style swimsuits:




                                        14
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 15 of 46 PageID #: 15




       35.   U.S. Design Patent No. D742,620 S for “Swimsuit Top” (the “’620

 Patent”) was duly and lawfully issued by the USPTO on November 10, 2015 to

 Global Trademarks. The ’620 Patent is titled “Swimsuit.” Mark Waldman and

 Brian Davis are listed as the inventors. The patent issued from U.S. Design Patent

 Application No. 29/469,467 (the “’467 Application”), which was filed on October

 10, 2013. On January 24, 2012, Mr. Waldman and Mr. Davis assigned their rights

 in the design claimed in the ’620 Patent to Global Trademarks. The assignment was

 recorded with the USPTO and is located at reel/frame number 033208/0145.

       36.   The ’620 Patent carries a presumption of validity under 35 U.S.C.

 § 282(a) and is enforceable.

       37.   The ’620 Patent claims a new, original, and ornamental design for a

 swimsuit, as shown in the figure of the ’620 Patent, reproduced in part below and
                                          15
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 16 of 46 PageID #: 16


 shown in Exhibit 3, with the broken lines of equal length forming no part of the

 claimed design:




       38.   Swim USA, under license from Global Trademarks, manufactures

 multiple products, including the TRIMSHAPER® “Ronnie”-style swimsuit top,

 which embodies the claimed design of the ’640 Patent:




                                         16
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 17 of 46 PageID #: 17




              Ronnie Swimsuit Top                        The ’640 Patent



                        SWIM SOLUTIONS® TRADEMARK

       39.      Global Trademarks is the owner and registrant of the trademark

 SWIM SOLUTIONS®, United States Registered Trademark No. 4,080,817, for

 “Swimwear,” attached as Exhibit 4. Global Trademarks, through its licensee and

 affiliated company Penbrooke Swimsuits, Inc., has sold in commerce SWIM

 SOLUTIONS®-branded swimwear since as early as August 8, 2011. It has used

 the SWIM SOLUTIONS® mark continuously in United States commerce since

 that time.




                                           17
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 18 of 46 PageID #: 18


       40.    The right to use the SWIM SOLUTIONS® trademark has become

 incontestable under the provisions of 15 U.S.C. § 1065 since at least as early as

 December 18, 2017.

       41.    The registration for SWIM SOLUTIONS® is valid and subsisting and

 has never been cancelled.

       42.    The SWIM SOLUTIONS®-branded swimwear has been available for

 purchase at Macy’s brick-and-mortar and online stores. A partial screenshot of the

 SWIM SOLUTIONS®-branded swimwear, as available on www.macys.com, is

 shown below:




                                          18
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 19 of 46 PageID #: 19




       43.    The SWIM SOLUTIONS® mark also appears on hangtags attached to

 the swimsuits themselves, e.g.:




       44.    Global Trademarks, through its licensee, has invested substantial time,

 effort, and financial resources promoting its SWIM SOLUTIONS® mark in

 connection with the marketing and sale of its goods in interstate commerce. The

 SWIM SOLUTIONS® mark has become, through widespread and favorable public

 acceptance and recognition, an asset of substantial value as a symbol of Plaintiff,

 its quality products, and its goodwill. The consuming public recognizes the SWIM

 SOLUTIONS® trademark and associates it with one source.


                                          19
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 20 of 46 PageID #: 20


       45.    The SWIM SOLUTIONS® mark is distinctive as applied to the goods

 that bear the mark.

                       DEFENDANTS’ WRONGFUL ACTS

       46.    Without Plaintiff’s authorization or approval, Defendants have been

 offering, promoting, and selling knock-off swimsuits that infringe Plaintiff’s design

 patents and trademark rights.

       47.    Defendants have been long aware of Swim USA and its products. At

 least as early as 2012 and through 2018, Defendant SFA (or its predecessor) bought

 swimsuits from Swim USA for resale.

       48.    At least as early as 2017 and through 2019, Defendant FBO bought

 swimsuits from Swim USA for resale.

       49.    Since 2019, Defendants no longer buy swimsuits from Swim USA.

 Instead, they copy the swimwear designed and manufactured by Swim USA.

       50.    Rather than purchase Swim USA’s innovative and uniquely designed

 swimwear, Defendants have resorted to creating, offering for sale, promoting, and

 selling knock-off swimsuits that infringe upon Plaintiff’s U.S. Design Patent

 Registration Nos. D687,212; D866,123; and D742,620 (collectively, the “Patents-

 in-Suit”)—as well as Plaintiff’s SWIM SOLUTIONS® trademark, without

 Plaintiff’s authorization or approval.

       51.    As shown in the photographs below, Defendants have been making,

 offering, promoting, and selling knock-off swimsuits using the “Rita”-style

                                          20
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 21 of 46 PageID #: 21


 swimsuit top design, as claimed in the ’212 Patent, through their “Longer-Length

 Tiered-Ruffle Tankini Top” product:




       52.    Defendants’ “Longer-Length Tiered-Ruffle Tankini Top” is available

 for sale at least via catalogue and telephone, as well as on

 www.swimsuitsforall.com, www.onestopplus.com, www.womanwithin.com,

 www.catherines.com, www.roamans.com, www.jessicalondon.com, www.ellos.us,

 www.juneandvie.com, www.intimatesforall.com, and Amazon (for example at

 https://www.amazon.com/Swimsuits-All-Womens-Tiered-Ruffle-

 Tankini/dp/B07L6STXYT/).

       53.    Defendants have also been making, offering, promoting, and selling

 knock-off swimsuits using the “Criss-Cross Escape”-style swimsuit design, as




                                           21
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 22 of 46 PageID #: 22


 claimed in the ’123 Patent, through their “Twist Underwire Bandeau One Piece

 Swimsuit” product:




       54.   Defendants’ “Twist Underwire Bandeau One Piece Swimsuit” is

 available for sale at least via catalogue and on www.swimsuitsforall.com,

 www.onestopplus.com, www.womanwithin.com, www.catherines.com,

 www.roamans.com, www.jessicalondon.com, www.ellos.us, www.juneandvie.com,

 www.intimatesforall.com, www.fullbeautyoutlet.com, and Amazon (for example at

 https://www.amazon.com/Swimsuits-All-Underwire-Bandeau-

 Swimsuit/dp/B0BT7ZRB5G/).




                                         22
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 23 of 46 PageID #: 23


       55.   Defendants have also been making, offering, promoting, and selling

 knock-off swimsuits using the “Ronnie”-style swimsuit top, as claimed in the ’640

 Patent, through their “Mesh Double-Tier Tankini Top” product:




       56.   Defendants’ “Mesh Double-Tier Tankini Top” is available for sale at

 least via catalogue and telephone, as well as on www.swimsuitsforall.com,

 www.onestopplus.com, www.womanwithin.com, www.catherines.com,

 www.roamans.com, www.jessicalondon.com, www.ellos.us, www.juneandvie.com,

 www.intimatesforall.com, and Amazon (for example at

 https://www.amazon.com/Swimsuits-All-Womens-Double-Tier-

 Tankini/dp/B08Q7ST8QK/).



                                        23
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 24 of 46 PageID #: 24


         57.     In general, Defendants’ typical customer would be a consumer who is

 interested in buying a women’s swimsuit. This typical customer would at least find

 Defendants’ products online through Defendants’ own website (as described

 below) and through Amazon.com. Defendants’ products at issue originally retailed

 for between $79.99 to $115.00.

         58.     Defendants’ copying not new; it follows a pattern of copying various

 Swim USA styles and patterns, including the following:

               Plaintiff’s Styles                                Defendants’ Copies




           MIRACLESUIT®                                       SWIMSUITS FOR ALL
        “New Sensation Barcelo”1                               “V-Neck One Piece”




 1
   For all Plaintiff’s styles pictured, there may be earlier styles with different prints or color and/or
 under a different SWIM USA brand. For example, Swim USA also designed and manufactured
 this style under its PENBROOKE® line at least as early as the 2012 Season.

                                                   24
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 25 of 46 PageID #: 25


          Plaintiff’s Styles                    Defendants’ Copies




          TRIMSHAPER®                         SWIMSUITS FOR ALL
             “Averi”                       “Ruched Twist Front One Piece”




         MIRACLESUIT®                         SWIMSUITS FOR ALL
        “Network Bordeaux”                     “Mesh Wrap Bandeau”




                                      25
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 26 of 46 PageID #: 26


          Plaintiff’s Styles                    Defendants’ Copies




       SWIM SOLUTIONS®                        SWIMSUITS FOR ALL
        “Tie Side Blouson”                 “Side Tie Blouson Tankini Top”




         MIRACLESUIT®                         SWIMSUITS FOR ALL
            “Lovey”                          “Mesh-Draped Swimsuit”




                                      26
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 27 of 46 PageID #: 27


       59.    Defendants do not limit their copying to just swimwear styles.

 Defendants also copy the swimwear prints created by Swim USA. A few examples

 of Defendants’ copying include:

             Plaintiff’s Prints                     Defendants’ Copies




             MIRACLESUIT®                        SWIMSUITS FOR ALL
             “Plumeria” print                 “Multi Flower Engineered” print




              LONGITUDE®                          SWIMSUITS FOR ALL
                                         27
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 28 of 46 PageID #: 28


           Plaintiff’s Prints                   Defendants’ Copies
           “Meridian” print                   “Purple Sunburst” print




            LONGITUDE®                        SWIMSUITS FOR ALL
          “Sound Wave” print                   “Blue Starburst” print




           LONGITUDE®                         SWIMSUITS FOR ALL
        “Shades of Blue” print               “Silver Foil Animal” print




                                      28
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 29 of 46 PageID #: 29


            Plaintiff’s Prints                   Defendants’ Copies




          ACTIVE SPIRIT®                       SWIMSUITS FOR ALL
         “Tranquil Seas” print                  “Teal Sunburst” print


      60.    Without authorization from Global Trademarks, Defendants have been

 using the SWIM SOLUTIONS® mark throughout their various websites. For

 example, on the www.swimsuitsforall.com homepage, Defendants have inserted a

 banner titled, “SWIM SOLUTIONS You can count on!” as pictured below:




                                      29
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 30 of 46 PageID #: 30




       61.   In addition, on most of Defendants’ product pages, under the product

 “Description & Details,” Defendants insert a bullet point entitled “Swim

 Solutions.” An example is shown below (highlight added):




       62.   Defendants’ prominent display of the mark “SWIM SOLUTIONS” on

 a banner, and repetitive uses of the mark on nearly every product page ensures that

                                         30
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 31 of 46 PageID #: 31


 Defendants’ websites are returned on the first page of popular search engines, such

 as Google or Bing, when a customer searches for Plaintiff’s SWIM

 SOLUTIONS®-branded swimwear.

          INJURY TO GLOBAL TRADEMARKS AND THE PUBLIC

       63.    By copying Plaintiff’s patented designs, Defendants have unfairly

 benefited from Plaintiff’s and Swim USA’s hard-earned innovations. As a result of

 the undeniable similarities between the Swim USA’s “Rita,” “Criss Cross Escape,”

 and the “Ronnie”-style swimsuit products, the public is likely to mistake and/or

 confuse Defendants’ products with Swim USA’s licensed products and Plaintiff’s

 patented designs.

       64.    Defendants’ unauthorized uses of the SWIM SOLUTIONS® mark are

 likely to cause confusion, mistake, and deception as to the source or origin of

 Defendants’ products, and are likely to falsely suggest a sponsorship, connection,

 or association between Defendants, their products, and/or their commercial

 activities with Swim USA.

       65.    As a direct and proximate result of Defendants’ infringements,

 Plaintiff has suffered and will continue to suffer irreparable loss of income, profits,

 and goodwill and Defendants have and will continue to unfairly acquire income,

 profits, and goodwill.




                                           31
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 32 of 46 PageID #: 32


       66.    Defendants’ acts, as described above, have damaged and irreparably

 injured and if permitted to continue, will further damage and irreparably injure

 Plaintiff and its federally registered design patents and mark.

       67.    Plaintiff has no adequate remedy at law.

       68.    Defendants have acted knowingly, willfully, in reckless disregard of

 Plaintiff’s rights, and in bad faith, as evidenced in part by Defendants’ history with

 Swim USA and their obvious copying of Plaintiff’s designs and mark.

                             COUNT I
          DESIGN PATENT INFRINGEMENT OF THE ’212 PATENT
                     UNDER 35 U.S.C. §§ 271, 289

       69.    Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       70.    In the eye of the ordinary observer, familiar with the relevant prior art,

 giving such attention as a purchaser of Defendants’ “Longer-Length Tiered-Ruffle

 Tankini Top” would usually give, the design of the ’212 Patent and the design of

 Defendants’ “Longer-Length Tiered-Ruffle Tankini Top” are substantially the

 same, such that the ordinary observer would be deceived into believing that the

 design of Defendants’ “Longer-Length Tiered-Ruffle Tankini Top” is same as the

 design of the ’212 Patent.

             The ’212 Patent                          Defendants’ Design




                                           32
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 33 of 46 PageID #: 33


           The ’212 Patent                      Defendants’ Design




                FIG. 1




                FIG. 2



                                      33
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 34 of 46 PageID #: 34


           The ’212 Patent                      Defendants’ Design




                FIG. 3




                FIG. 4



                                      34
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 35 of 46 PageID #: 35


             The ’212 Patent                           Defendants’ Design




                  FIG. 5


       71.    Defendants have directly infringed and continue to infringe the ’212

 Patent by making, using, selling, and offering for sale in the United States, and/or

 importing into the United States the “Longer-Length Tiered Ruffle Tankini Top”

 embodying the design of the ’212 Patent, without authority or license from Global

 Trademarks. Additionally, Defendants have infringed and continue to infringe the

 ’212 Patent by applying the patented design, or a colorable imitation thereof, to an

 article of manufacture, such as the “Longer-Length Tiered Ruffle Tankini Top,” for

 the purpose of sale and/or by selling, offering, or exposing for sale an article of

 manufacture, such as the “Longer-Length Tiered Ruffle Tankini Top,” to which the



                                           35
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 36 of 46 PageID #: 36


 design of the ’212 Patent or a colorable imitation thereof has been applied.

 Defendants’ actions violate 35 U.S.C. §§ 271(a) and 289.

                            COUNT II
         DESIGN PATENT INFRINGEMENT OF THE ’123 PATENT
                    UNDER 35 U.S.C. §§ 271, 289

       72.    Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       73.    In the eye of the ordinary observer, familiar with the prior art, giving

 such attention as a purchaser of Defendants’ “Twist Underwire Bandeau One Piece

 Swimsuit” would usually give, the design of the ’123 Patent (second embodiment)

 and the design of Defendants’ “Twist Underwire Bandeau One Piece Swimsuit” are

 substantially the same, such that the ordinary observer would be deceived into

 believing that the design of Defendants’ “Twist Underwire Bandeau One Piece

 Swimsuit” is same as the design of the ’123 Patent (second embodiment).

             The ’123 Patent                          Defendants’ Design




                                          36
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 37 of 46 PageID #: 37


           The ’123 Patent                      Defendants’ Design




                FIG. 5




                FIG. 6



                                      37
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 38 of 46 PageID #: 38


           The ’123 Patent                      Defendants’ Design




                FIG. 7




                FIG. 8



                                      38
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 39 of 46 PageID #: 39


                           COUNT III
         DESIGN PATENT INFRINGEMENT OF THE ’620 PATENT
                    UNDER 35 U.S.C. §§ 271, 289

       74.    Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       75.    In the eye of the ordinary observer, familiar with the prior art, giving

 such attention as a purchaser of Defendants’ “Mesh Double-Tier Tankini Top”

 would usually give, the design of the ’620 Patent and the design of Defendants’

 “Mesh Double-Tier Tankini Top” are substantially the same, such that the ordinary

 observer would be deceived into believing that the design of Defendants’ “Mesh

 Double-Tier Tankini Top” is same as the design of the ’620 Patent.

             The ’620 Patent                          Defendants’ Design




                 FIG. 1


                                          39
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 40 of 46 PageID #: 40


           The ’620 Patent                      Defendants’ Design




                FIG. 2




                FIG. 3



                                      40
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 41 of 46 PageID #: 41


             The ’620 Patent                          Defendants’ Design




                  FIG. 4


       76.    Defendants have infringed and continue to infringe the ’620 Patent by

 making, using, selling, and offering for sale in the United States, and/or importing

 into the United States the “Mesh Double-Tier Tankini Top” embodying the design

 of the ’620 Patent, without authority or license from Global Trademarks.

 Additionally, Defendants have infringed and continue to infringe the ’620 Patent

 by applying the patented design, or a colorable imitation thereof, to an article of

 manufacture, such as the “Mesh Double-Tier Tankini Top,” for the purpose of sale

 and/or by selling, offering, or exposing for sale an article of manufacture, such as

 the “Mesh Double-Tier Tankini Top,” to which the design of the ’620 Patent or a



                                           41
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 42 of 46 PageID #: 42


 colorable imitation thereof has been applied. Defendants’ actions violate 35 U.S.C.

 §§ 271(a) and 289.

                          COUNT IV
       INFRINGEMENT OF THE SWIM SOLUTIONS® TRADEMARK

       77.     Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       78.     Without Global Trademark’s consent, Defendants have used and

 continue to use in commerce Plaintiff’s SWIM SOLUTIONS® mark in connection

 with the sale, offering for sale, distribution, and/or advertising of goods on or in

 connection with which such use is likely to cause confusion, mistake, or deception

 in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

                              COUNT V
                FEDERAL UNFAIR COMPETITION AND FALSE
                       DESIGNATION OF ORIGIN

       79.     Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       80.     Defendants’ actions, as described above, are likely to cause confusion,

 or to cause mistake, or to deceive as to the origin, sponsorship, or approval of

 Defendants, their goods, and/or their commercial activities by or with Plaintiff, and

 thus constitute trademark infringement, false designation of origin, passing off, and

 unfair competition in violation of Section 43(a)(1) of the Lanham Act, 15 U.S.C. §

 1125(a)(1).

                                      COUNT VI
                                         42
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 43 of 46 PageID #: 43


       TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
                UNDER INDIANA COMMON LAW
       81.    Global Trademarks repeats and incorporates by reference all prior

 allegations above.

       82.    Defendant’s actions, as described above, are likely to cause confusion,

 or to cause mistake, or to deceive as to the affiliation, connection, or association of

 Defendants with Plaintiff, or as to the origin, sponsorship, or approval of

 Defendants, their services, and their commercial activities by or with Plaintiff such

 that Defendants’ acts constitute infringement of Plaintiff’s proprietary rights in its

 SWIM SOLUTIONS® mark, misappropriation of Plaintiff’s goodwill in that mark,

 and unfair competition under Indiana common law.

                              REQUEST FOR RELIEF

       WHEREFORE, in consideration of the foregoing, Plaintiff respectfully

 requests that this Court enter judgment in its favor on each and every claim for

 relief set forth above and award it the following relief, including, but not limited

 to:

       A.     A judgment that Defendants’ use the Rita, Criss-Cross Escape, and

              Ronnie designs has infringed the claimed design of each of the

              Patents-in-Suit;

       B.     An order preliminarily and permanently restraining and enjoining

              Defendants, their officers, agents, attorneys and employees, and those

              acting in privity or concert with Defendants, from further acts of
                                           43
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 44 of 46 PageID #: 44


            infringing the Patents-in-Suit including, but not limited to, making,

            importing, promoting, offering, or exposing for sale, or selling the

            products with designs substantially similar to the claimed design of

            the Patents-in-Suit, as explained above, until after the expiration date

            of the Patents-in-Suit;

      C.    A judgment against Defendants for Defendants’ total profits for any

            article of manufacture to which the design of the Patents-in-Suit has

            been applied as a result of Defendant’s infringement of the Patents-in-

            Suit in an amount to be determined at trial as provided under 35

            U.S.C. § 289 and for money damages sustained as a result of

            Defendants’ infringement of the Patents-in-Suit in an amount to be

            determined at trial as provided under 35 U.S.C. § 284, whichever is

            elected by Plaintiff at trial;

      D.    An accounting of Defendants’ profits pursuant to 35 U.S.C. § 289;

      E.    Costs and reasonable attorneys’ fees relating to this action pursuant to

            35 U.S.C. § 285;

      F.    A judgment that Defendants have infringed the SWIM

            SOLUTIONS® registered trademark and engaged in unfair

            competition in violation of 15 U.S.C. § 1114(1), 15 U.S.C. § 1125(a),

            and Indiana common law;



                                             44
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 45 of 46 PageID #: 45


      G.    An order preliminarily and permanently restraining and enjoining

            Defendants, their officers, agents, attorneys and employees, and those

            acting in privity or concert with Defendants, from further acts of

            infringing the SWIM SOLUTIONS® trademark or any confusingly

            similar marks to market, advertise, distribute, or identify Defendants’

            products;

      H.    A judgment awarding Plaintiff all damages it sustained as the result of

            Defendants’ acts of trademark infringement and unfair competition,

            said amount to be trebled, together with prejudgment interest,

            pursuant to 15 U.S.C. § 1117;

      I.    A judgment awarding Plaintiff all profits received by Defendants from

            sales and revenues of any kind made as a result of its willful and

            intentional infringing actions, said amount to be trebled, after an

            accounting, pursuant to 15 U.S.C. § 1117;

      J.    Costs and reasonable attorneys’ fees relating to this action pursuant to

            15 U.S.C. § 1117;

      K.    An Order directing Defendants to immediately send to Plaintiff all

            products, advertisements, hangtags, promotional materials, stationery,

            forms, and/or any other materials and things that contain or bear

            products embodying the Patents-in-Suit or any other designs that are

            substantially similar to Plaintiff’s Patents-in-Suit, the SWIM

                                        45
Case 1:24-cv-00611-JRS-TAB Document 1 Filed 04/05/24 Page 46 of 46 PageID #: 46


               SOLUTIONS® trademark, or any marks that are likely to be confused

               with Plaintiff’s mark.

        L.     Any other and further relief as the Court may deem just.

                                DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38, Plaintiff respectfully demands trial by jury on

 all issues so triable by jury in this action.

 Dated: April 5, 2024        Respectfully submitted,

                                    /s/ Brittney B. Rykovich
                                    Brittney B. Rykovich (34843-49)
                                    Gordon Rees Scully Mansukhani / GRSM50
                                    600 E. 96th Street, Suite 501
                                    Indianapolis, IN 46240
                                    (317) 713-0902
                                    brykovich@grsm.com

                                    Douglas A. Rettew (pro hac vice pending)
                                    Elizabeth D. Ferrill (pro hac vice pending)
                                    Natalie Nogueira (pro hac vice pending)
                                    FINNEGAN, HENDERSON, FARABOW,
                                    GARRETT & DUNNER, LLP
                                    901 New York Avenue, N.W.
                                    Washington, D.C. 20001-4413
                                    (202) 408-4000
                                    doug.rettew@fiunnegan.com
                                    elizabeth.ferrill@finnegan.com
                                    natalie.nogueira@finnegan.com

                                    Attorneys for Plaintiff




                                             46
